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   EXHIBIT C
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                                      The mission of the Three Village Central School District, in concert with its families and
                                      community, is to provide an educational environment which will enable each student to achieve
                                      a high level of academic proficiency and to become a well-rounded individual who is an
                                      involved, responsible citizen.




   THREE VILLAGE Dawn Mason, Ed.D.
CENTRAL SCHOOL DISTRICT Executive Director
                                                                          Pupil Personnel Services



 June 19,2019


 Dear ParenVGuardian:

 On June 13,2019, the Governor signed into law legislation (S.2994A/A.2371) repealing the provision
 pemiitting a religious exemption of the vaccination requirements for students. This means that all
 schoolchildrea must now be vaccinated as required by the Public Health Law, even if their parents
 have religious objections to the vaccinations. The new legislation is effective immediately.

 Pursuant to Public Health Law §2164, every student entering or attending public school must be
 immunized. Public school students must be immunized against poliomyelitis, mumps, measles,
 diphtheria, mbella, varicella, hepatitis B, pertussis, tetanus, and where applicable, Haemophilus
 influenzae type b, pneumococcal disease, and meningococcal disease. The required immunizations
 may be administered by any health practitioner, or at no cost by the county health officer upon
 parental consent, Additional information on the required immunizations and doses may be found at;
 IUtps:/A\'\vw.cdc.guv/vaccines/sche(.liiley/dowal.oaLls/child/0-18yrs"child-coinbined-schcdule.ixlf


 According to guidance issued by the New York State Education Department, the Department of
 Health and Office of Children and Family Services, children attending school under a religious
 exemption must have received the first age appropriate dose in each immunization series by June 28,
 2019 to attend or remain in school, By July 14,2019, parents and guardians must show that they have
 made appointments for all required follow-up doses. A copy of the New York State guidance is
 attached,


 We encourage you to make efforts to obtain the necessary certificate or other acceptable evidence of
 immunization as soon as possible so that your child(ren) may continue to attend school.

 Very truly yours,

                      AOT^
 Dawn Mason


 ec: Superintendent of Schools
     School Nurse

                                                  Cheryl Pedisich, Superintendent of Schools
                                        •leffrcy Carlson, Assistant Superintendent, Business Services
                                     Gary Dabrusky, Ed.D., Assistant Superintendent, Human Resources
                                       Kevin Scanlon, AstislantSuperintendcnti Educatir)nnl SFrvirps
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                Boyrd of Educatton Dcanna Bavli^ka Jonathnn Komreicli
             Wilfiom F. Connors., Jr,, PresideiU fnger Gemiano Augeliquc Rdgolia
              Irene Gisclie, Vice President Dr. Jeffrey Kcnnan Kaililcen Snmpogna, Dislriel Clerk
